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              BEFORE THE UNITED STATES JUDICIAL PANEL
                   ON MULTIDISTRICT LITIGATION

 In re: Oral Phenylephrine                )
 Marketing and Sales Practices            )   MDL No. 3089
 Litigation                               )
                                          )


                           CERTIFICATE OF SERVICE

       I hereby certify that on this 6th day of October, 2023, a copy of the foregoing

document was filed on the Court’s CM/ECF system, which sends notice of the same

to all parties. I further caused the foregoing to be served on the following in the

manner indicated:

Defendant: GlaxoSmithKline LLC Via Certified Mail
Corporation Service Company
3366 Riverside Drive, Suite 103
Upper Arlington, OH 43221

Defendant: Kenvue Inc. Via Certified Mail
c/o THE CORPORATION TRUST COMPANY CORPORATION TRUST CENTER
1209 ORANGE ST
WILMINGTON, DE 19801

Defendant: McNeil Consumer Healthcare Via Certified Mail
c/o THE CORPORATION TRUST COMPANY CORPORATION TRUST CENTER
1209 ORANGE ST
WILMINGTON, DE 19801

Defendant: Procter & Gamble Company
COVINGTON & BURLING LLP
Andew Soukup
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850 10th Street NW
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Defendant: Reckitt Benckiser LLC
HOGAN LOVELLS US LLP
Lauren S. Colton
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Baltimore, MD 21202
                                        /s/ Alyson S. Beridon
                                        Alyson S. Beridon
